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                                                         6
                                                           Attorneys for Plaintiffs, Directors of the
                                                         7 Motion Picture Industry Pension and
                                                           Health Plans.
                                                         8
                                                                                  UNITED STATES DISTRICT COURT
                                                         9
                                                                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                        10
                                                        11
                                                           DIRECTORS OF THE MOTION                            CASE NO. 2:20-CV-1602
                801 North Brand Boulevard, Suite 950




                                                        12 PICTURE INDUSTRY PENSION
                   Glendale, California 91203-1260




                                                           AND HEALTH PLANS,                                  COMPLAINT TO RECOVER
                                                        13
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                                                                        Plaintiffs,                           UNPAID CONTRIBUTIONS
                                                        14                                                    UNDER THE EMPLOYEE
                                                                 vs.                                          RETIREMENT INCOME
                                                        15                                                    SECURITY ACT OF 1974, AND
                                                           BIG STONE GAP PRODUCTIONS,
                                                        16 LLC, a California limited liability                FOR BREACH OF COLLECTIVE
                                                           company, and MEDIA SOCIETY,                        BARGAINING AGREEMENTS
                                                        17 INC., a California and Delaware                    AND (3) FOR BREACH OF
                                                           corporation,
                                                        18                                                    SETTLEMENT AGREEMENT
                                                                        Defendants.
                                                        19
                                                        20
                                                                      Plaintiffs Directors of the Motion Picture Industry Pension and Health Plans
                                                        21
                                                             (the “Directors”) complain and allege:
                                                        22
                                                                                            JURISDICTION AND VENUE
                                                        23
                                                                      1.       This is an action by the Directors for breach of collective bargaining
                                                        24
                                                             agreements (“CBAs”) between an employer and multiple labor organizations
                                                        25
                                                             representing employees in an industry affecting commerce and to enforce section
                                                        26
                                                             515 of the Employee Retirement Income Security Act of 1974 (“ERISA”), as
                                                        27
                                                             amended, 29 U.S.C. § 1145. This Court has jurisdiction over the subject matter of
                                                        28
                                                             667387v5 11011-29003                                                     Case No. 2:20-CV-1602
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                                                         1 this action pursuant to 28 U.S.C. § 1331, ERISA § 502, 29 U.S.C. § 1132(a)(3) and
                                                         2 (e)(1), and section 301 of the Labor-Management Relations Act (“LMRA”), 29
                                                         3 U.S.C. § 185(a).
                                                         4            2.       Venue is based on the location of the office in which the Motion
                                                         5 Picture Industry Pension and Health Plans (the “Plans”) are administered, which is
                                                         6 in the Central District of California. As such, venue is appropriate pursuant to
                                                         7 ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2).
                                                         8                                             PARTIES
                                                         9            3.       The Directors administer the Plans, which are “employee benefit plans”
                                                        10 within the meaning of ERISA § 3(3), 29 U.S.C. § 1002(3), in that the Plans were
                                                        11 created pursuant to written declarations of trust (“Trust Agreements” and, together
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                                                        12 with the CBAs, the “Signatory Documents”) between labor unions and motion
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                                                        13 picture, television and advertising producer employers. The Plans are maintained
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                                                        14 for the purpose of providing their participants and beneficiaries with retirement
                                                        15 benefits as well as medical, surgical and hospital benefits in the event of sickness,
                                                        16 accident, disability or death. The Plans were created and now exist pursuant to
                                                        17 LMRA § 302(c), 29 U.S.C. § 186(c).
                                                        18            4.       The Plans are “multiemployer plans” within the meaning of ERISA
                                                        19 § 3(37)(A), 29 U.S.C. § 1002(37)(A), in that more than one employer is required to
                                                        20 contribute to the Plans and the Plans are maintained pursuant to CBAs between
                                                        21 labor unions and motion picture and television producers.
                                                        22            5.       Pursuant to the Trust Agreements, the Directors have the authority to
                                                        23 request and review employer records to conduct audits to confirm employers’
                                                        24 compliance with contribution obligations under the applicable terms of CBAs and
                                                        25 Trust Agreements, and to file actions to enforce all rights against employers under
                                                        26 applicable CBAs and ERISA to protect trust assets.
                                                        27            6.       At all times relevant herein, Defendant Big Stone Gap Productions,
                                                        28 LLC (“Big Stone Gap”) has been a California limited liability company. Big Stone
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                                                         1 Gap is an “employer” within the meaning of ERISA § 3(5), 29 U.S.C. § 1002(5) and
                                                         2 LMRA § 501(3), 29 U.S.C. § 142(3). As such, Big Stone Gap is an employer as
                                                         3 that term is used in LMRA § 301(a), 29 U.S.C. § 185(a).
                                                         4            7.       At all times material herein, Big Stone Gap has been a motion picture
                                                         5 producer employer who was signatory to, and agreed to be bound by, the terms and
                                                         6 conditions of the following union CBAs, each of which contain substantially similar
                                                         7 provisions naming the Plans as intended beneficiaries for required benefit
                                                         8 contribution payments: Local 600 Low and Very Low Budget Theatrical Area
                                                         9 Standards Agreement, Single Production Trust Acceptance, Single Production
                                                        10 Agreement of Consent, IATSE Independent Memorandum of Agreement, Locals
                                                        11 487, 161 and 798 Eastern Region Low and Very Low Budget Theatrical Area
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                                                        12 Standards Agreement. A true and correct copy of the relevant sections of the
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                                                        13 agreements executed by Big Stone Gap binding it to the terms of the CBAs and
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                                                        14 Trust Agreements are attached here as Exhibit A.
                                                        15            8.       At all times relevant herein, Defendant Media Society, Inc (“Media
                                                        16 Society”) has been a California and Delaware corporation. Media Society is an
                                                        17 “employer” within the meaning of ERISA § 3(5), 29 U.S.C. § 1002(5) and LMRA §
                                                        18 501(3), 29 U.S.C. § 142(3). As such, Media Society is an employer as that term is
                                                        19 used in LMRA § 301(a), 29 U.S.C. § 185(a). Furthermore, the Directors allege that
                                                        20 Media Society assumed all assets and liabilities for Big Stone Gap.
                                                        21                                      FACTUAL ALLEGATIONS
                                                        22 BIG STONE GAP’S OBLIGATION TO CONTRIBUTE TO THE PLANS
                                                        23            9.       Big Stone Gap produced the motion picture, entitled “Big Stone Gap”
                                                        24 (“the Film”) pursuant to the CBAs. Further, Big Stone Gap produced the Film as a
                                                        25 signatory to the terms and conditions of the Trust Agreement creating the Plans.
                                                        26            10.      Pursuant to the signatory documents, Big Stone Gap is obligated to
                                                        27 make certain monetary contributions to the Plans on behalf of its employees who
                                                        28 perform services covered by the CBAs.
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                                                         1            11.      Pursuant to the terms of the Trust Agreements, the Plans have the
                                                         2 authority to conduct audits of the books and records of signatory employers for the
                                                         3 purpose of determining the accuracy of contributions made to the Plans. The Trust
                                                         4 Agreements provide that if such an audit discloses a delinquency or underpayment,
                                                         5 the cost of the audit shall be borne by the signatory who is found to be delinquent,
                                                         6 and that if litigation is required to compel such an audit, the costs of such litigation
                                                         7 are to be borne by the signatory as well.
                                                         8            12.      On or about January 27, 2015, the Directors announced a payroll
                                                         9 compliance audit of Big Stone Gap (“Audit”) for the period September 1, 2013, to
                                                        10 December 27, 2014 (the “Audit Period”), pursuant to the Plans’ Trust Agreements.
                                                        11 On October 2, 2018 the Plans issued an audit report (“Report”). The Report found
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                                                        12 that $8,835.68 in unpaid contributions was due for work performed by various
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                                                        13 individuals covered by the CBAs. The Report further found that $4,205.53 in
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                                                        14 interest, $4,205.53 in liquidated damages and $3,075.00 in audit costs were due, for
                                                        15 a total amount owing (as of October 2, 2018) of $20,321.74. Attached as Exhibit B
                                                        16 is a true and correct copy of the letter sent to Big Stone Gap detailing the Audit
                                                        17 findings. On December 1, 2017, the Directors sent the Audit Report Big Stone Gap
                                                        18 and made a demand for the full amount of the Claim.
                                                        19            13.      As a result of communication between the Directors, Hamner, and the
                                                        20 payroll company, Hamner discussed a settlement agreement regarding the
                                                        21 outstanding Big Stone Gap claim with the Directors on October 2, 2018. On
                                                        22 October 9, 2018, the Directors accepted Hamner’s offer for Media Society to pay
                                                        23 $14,578.71 as satisfaction for Big Stone Gap’s debt due before the close of business
                                                        24 on October 23,. 2018, and sent a copy of the settlement agreement to Hamner’s
                                                        25 Media Society mailing address. On November 6, 15, 19, and December 3, 2018, the
                                                        26 Directors sent Media Society notice that it breached the settlement agreement, and
                                                        27 Media Society failed to cure. As a result, on December 12, 2018, the Directors
                                                        28 referred the instant matter to outside counsel for collection.
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                                                         1 BIG STONE GAP AND MEDIA SOCIETY ARE ALTER EGOS
                                                         2            14.      Big Stone Gap was formed by members, officers, and shareholders of
                                                         3 Media Society for the purpose of producing the Film. The Directors are informed
                                                         4 and believe, and on that basis allege, that Big Stone Gap is an alter ego of Media
                                                         5 Society based upon the following factors: (i) Media Society has failed to respect the
                                                         6 separate identity of Big Stone Gap by failing to observe strict corporate formalities,
                                                         7 siphoning funds from Big Stone Gap, and treating corporate assets as its own; (ii)
                                                         8 Media Society demonstrated fraudulent intent with respect to Big Stone Gap either
                                                         9 at the time of its formation, by, among other things, failing to adequately capitalize
                                                        10 Big Stone Gap, or, subsequent to its formation, by abusing its corporate form; (iii)
                                                        11 the purposes of ERISA will be frustrated if the fiction of the separateness between
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                                                        12 Big Stone Gap and Media Society is not recognized and perpetuated; and (iv)
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                                                        13 recognition of Big Stone Gap and Media Society as separate entities would result in
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                                                        14 substantial injustice to the Plans because, without employer contributions, the Plans
                                                        15 will be inadequately funded and will be unable to meet their obligations to the
                                                        16 Plans’ participants and beneficiaries.
                                                        17            15.      The Directors are informed and believe, and on that bases allege, that at
                                                        18 all material times Media Society has been and is the alter ego of Big Stone Gap such
                                                        19 that Media Society is bound to the Signatory Documents.
                                                        20            16.      The Directors are informed and believe, and on that basis allege, that
                                                        21 the members, officers, and shareholders of Media Society and Big Stone Gap
                                                        22 substantially overlap and these common members, officers, and shareholders
                                                        23 commingled their assets and property.
                                                        24            17.      Based on information and belief, Media Society, through its member,
                                                        25 Wade Bradley, control, own, and operate Big Stone Gap as evidenced by use of a
                                                        26 shared addresses,1416 N. La Brea Ave. Los Angeles, 90028-7506, shared registered
                                                        27 agent, Wade Bradley, and the use of a “Media Society” email address to conduct
                                                        28 official business on behalf of Big Stone Gap (including the execution of a settlement
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                                                         1 agreement to resolve Big Stone Gap’s debt to the Plans).
                                                         2            18.      On information and belief, the Directors allege that Media Society
                                                         3 failed to demonstrate respect for the separate identity of Big Stone Gap by failing to
                                                         4 observe strict corporate formalities; Media Society demonstrated fraudulent intent at
                                                         5 the time of its formation by failing to adequately capitalize Big Stone Gap and,
                                                         6 subsequent to production of the Film, because Media Society, and its members,
                                                         7 officers, and shareholders in common with Big Stone Gap were in a position to
                                                         8 control whether Big Stone Gap would be able to pay due and owing contributions,
                                                         9 and failed to ensure that Big Stone Gap would have the necessary funds to make
                                                        10 contributions to the Plans.
                                                        11                                  FIRST CAUSE OF ACTION
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                                                        12                          (Breach of Collective Bargaining Agreement)
                   Glendale, California 91203-1260




                                                        13            19.      The Directors hereby incorporate Paragraphs 1 through 18 by reference
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                                                        14 and re-allege those allegations as though fully set forth herein.
                                                        15            20.      At all relevant times, Big Stone Gap had agreed to accept and be bound
                                                        16 by the terms and conditions of applicable Signatory Documents. Pursuant to the
                                                        17 Signatory Documents, Big Stone Gap is obligated to make certain contributions to
                                                        18 the Plans based on hours worked by employees covered by the CBAs. The
                                                        19 Signatory Documents further obligate Big Stone Gap to cooperate with Plan audits,
                                                        20 in part by providing relevant information, records and documents to the Directors
                                                        21 for review, upon request.
                                                        22            21.      The terms of the Trust Agreements authorize the Directors to audit the
                                                        23 records of signatory employers, including Big Stone Gap, for the purpose of
                                                        24 determining the accuracy of contributions made to the Plans including, but not
                                                        25 limited to, payroll books and ledgers and any other books or records, which the
                                                        26 Directors deem necessary to the proper administration of the Plans.
                                                        27            22.      Pursuant to the Signatory Documents, Big Stone Gap agreed that in the
                                                        28 event it failed to pay contributions when due, it would be considered delinquent and
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                                                         1 would pay liquidated damages on any and all delinquent contributions. The
                                                         2 Directors are informed and believe, and on that basis allege, that liquidated damages
                                                         3 are due by Big Stone Gap.
                                                         4            23.      Pursuant to the Signatory Documents, Big Stone Gap further agreed
                                                         5 that in the event of any delinquency, it would pay legal and audit costs in connection
                                                         6 therewith, whether before or after litigation is commenced. Pursuant to the
                                                         7 Signatory Documents and ERISA § 502(g)(2)(D), 29 U.S.C. § 1132(g)(2)(D), the
                                                         8 Directors are entitled to their reasonable attorneys’ fees and audit fees. These
                                                         9 amounts will be established by proof at trial.
                                                        10            24.      Pursuant to ERISA § 502(g)(2)(B), 29 U.S.C. § 1132(g)(2)(B), and as
                                                        11 set forth in the Signatory Documents, Big Stone Gap owes the Plans interest, at 12%
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                                                        12 per annum, on all unpaid contributions from the dates the sums were originally due
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                                                        13 to the Plans to the date of judgment. The amount of said interest will be established
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                                                        14 by proof at trial.
                                                        15            25.      Based on the express terms of the Signatory Documents, the Directors
                                                        16 reposed trust and confidence in Big Stone Gap and relied on it to accurately report
                                                        17 and pay the correct amount of contributions to the Plans. Big Stone Gap’s breach of
                                                        18 the Signatory Documents, and breach of the trust and confidence the Directors
                                                        19 reposed in it, among other things, serves to toll any statute of limitations, if
                                                        20 applicable.
                                                        21                                 SECOND CAUSE OF ACTION
                                                        22                               (Damages from Violation of ERISA)
                                                        23            26.      The Directors incorporate by reference and re-allege each and every
                                                        24 allegation contained within paragraphs 1 through 25 above as though fully set forth
                                                        25 herein.
                                                        26            27.      Pursuant to ERISA sections 502 and 515, 29 U.S.C. §§ 1132, 1145, the
                                                        27 Directors are entitled to all unpaid contributions; interest thereon; an additional
                                                        28 amount equivalent to statutory interest or liquidated damages at 20 percent of the
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                                                         1 unpaid contributions, whichever is greater; reasonable attorneys’ fees; costs of this
                                                         2 action; and such other legal and equitable relief as the Court deems appropriate.
                                                         3            28.      Big Stone Gap’s failure to pay all amounts owed was willful, wanton,
                                                         4 and malicious and was intended to cause injury and has caused injury to the Plans.
                                                         5 The Directors are therefore entitled to an award of damages as other legal and
                                                         6 equitable relief, pursuant to ERISA § 502(g)(2)(E), 29 U.S.C. § 1132(g)(2)(E).
                                                         7                                  THIRD CAUSE OF ACTION
                                                         8                    (Against Big Stone Gap and Media Society as Alter Egos)
                                                         9            29.      The Directors incorporate by reference each allegation contained in
                                                        10 Paragraphs 1 through 28 as though fully set forth herein.
                                                        11            30.      The Directors are informed and believe and on that basis allege that
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                                                        12 there is an interrelationship of operations, management, and ownership between Big
                   Glendale, California 91203-1260




                                                        13 Stone Gap and Media Society and use of a shared addresses: 1314 N. La Brea
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                                                        14 Avenue Los Angeles, Ca 90028.
                                                        15            31.      The Directors are informed and believe and on that basis allege that at
                                                        16 all material times the common members, managers, and owners have commingled
                                                        17 their assets and property secured by all rights, title, and interests of any kind in
                                                        18 connection with the Film.
                                                        19            32.      At all times material, Big Stone Gap and Media Society, as alter ego
                                                        20 entities, have been bound by the Signatory Documents, jointly and severally
                                                        21 obligating Big Stone Gap and Media Society to pay contributions to the Plans on
                                                        22 behalf of covered employees performing services in connection with production of
                                                        23 the Film, plus interest, liquidated damages, audit costs, legal and attorney’s fees as
                                                        24 set forth in the signatory documents.
                                                        25            33.      Media Society is bound to the Signatory Documents to the same extent
                                                        26 as Big Stone Gap; both Media Society and Big Stone Gap are obligated to interest,
                                                        27 liquidated damages, audit costs, legal and attorneys’ fees as set forth in the
                                                        28 Signatory Documents; and both have failed and refused to pay such contributions,
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                                                         1 thereby breaching the terms and conditions of the signatory documents.
                                                         2                                 FOURTH CAUSE OF ACTION
                                                         3                                       (Breach of Contract)
                                                         4            34.      The Directors incorporate by reference each allegation contained in
                                                         5 Paragraphs 1 through 33 as though fully set forth herein.
                                                         6            35.      On October 9, 2018 the Plans and Big Stone Gap entered into a
                                                         7 settlement agreement (the “Settlement Agreement”) under which Media Society
                                                         8 would pay $14,578.71 (the “Settlement Sum”) no later than October 23, 2018 in
                                                         9 satisfaction of the amounts owing on account of the violations described above.
                                                        10 Attached here as Exhibit C is a true and correct copy of the Plans’ memorialization
                                                        11 of those settlement terms.
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                                                        12            36.      Media Society has breached the Settlement Agreement by failing to pay
                   Glendale, California 91203-1260




                                                        13 any portion of the Settlement Sum.
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                                                        14            37.      On February 25, 2019, September 13, 2019, and February 3, 2020, the
                                                        15 Directors, through counsel, sent demand letters to Big Stone Gap, Media Society
                                                        16 and several of its executives and members explaining that Media Society was in
                                                        17 breach of the Settlement Agreement and demanding prompt payment of the
                                                        18 Settlement Sum. To date, neither Media Society, Big Stone Gap nor its executives
                                                        19 or members have responded.
                                                        20            38.      The Directors have a fiduciary responsibility to pursue recovery of
                                                        21 these monies from Big Stone Gap. Under the Trust Agreements, the Directors are
                                                        22 empowered to take or cause to be taken any action deemed by them advisable or
                                                        23 necessary to recover delinquent contributions, including actions in law and equity.
                                                        24 / / /
                                                        25 / / /
                                                        26 / / /
                                                        27 / / /
                                                        28 / / /
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                                                        1                                         PRAYER FOR RELIEF
                                                        2            WHEREFORE the Directors pray for judgment against Defendants Big
                                                        3 Stone Gap Productions, LLC, a California limited liability company, and Media
                                                        4 Society, a California and Delaware corporation jointly and severally as follows:
                                                        5            (1)      for unpaid pension and health contributions due to the Directors in an
                                                        6 amount in excess of $8,835.68, plus additional amounts as proved at trial;
                                                        7            (2)      for liquidated damages as proved at trial;
                                                        8            (3)      for audit costs as provided for by the Signatory Documents;
                                                        9            (4)      for reasonable attorney’s fees and costs of this action, including the
                                                       10 costs of enforcing the Settlement Agreement, in an amount to be proven at trial;
                                                       11            (5)      for interest; and
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                                                       12            (6)      for such additional relief as this Court deems just and proper.
                   Glendale, California 91203-1260




                                                       13
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                                                       14 DATED: February 19, 2020                    PETER S. DICKINSON
                                                                                                      VANESSA C. WRIGHT
                                                       15
                                                                                                      BUSH GOTTLIEB, A Law Corporation
                                                       16
                                                       17
                                                       18                                             By:
                                                       19                                                 VANESSA C. WRIGHT
                                                                                                      Attorneys for Directors of the Motion Picture
                                                       20                                             Industry Pension and Health Plans
                                                       21
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